Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 1 of 22 Page ID
                                 #:109138
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 2 of 22 Page ID
                                 #:109139
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 3 of 22 Page ID
                                 #:109140
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 4 of 22 Page ID
                                 #:109141
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 5 of 22 Page ID
                                 #:109142
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 6 of 22 Page ID
                                 #:109143
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 7 of 22 Page ID
                                 #:109144
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 8 of 22 Page ID
                                 #:109145
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 9 of 22 Page ID
                                 #:109146
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 10 of 22 Page ID
                                 #:109147
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 11 of 22 Page ID
                                 #:109148
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 12 of 22 Page ID
                                 #:109149
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 13 of 22 Page ID
                                 #:109150
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 14 of 22 Page ID
                                 #:109151
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 15 of 22 Page ID
                                 #:109152
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 16 of 22 Page ID
                                 #:109153
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 17 of 22 Page ID
                                 #:109154
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 18 of 22 Page ID
                                 #:109155
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 19 of 22 Page ID
                                 #:109156
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 20 of 22 Page ID
                                 #:109157
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 21 of 22 Page ID
                                 #:109158
Case 2:04-cv-09049-DOC-RNB Document 4315-9 Filed 09/30/08 Page 22 of 22 Page ID
                                 #:109159
